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Other Orders/Judgments us. oigtiiet couRT
2:15-cv-01409-CCC-MF DISTRICT OF NEW JERSEY
HIGGINS v. WELLS FARGO R

BANK, N.A. et al CASE CLOSED iO: 02
on 03/21/2017 1 AUG 24 A

CLOSED,PROSE,SCHEDO

U.S. District Court
District of New Jersey [LIVE]
Notice of Electronic Filing

The following transaction was entered on 8/5/2021 at 5:02 PM EDT and filed on 8/5/2021

Case Name: HIGGINS v. WELLS FARGO BANK, N.A. et al
Case Number: 22 §-ev-01409-CCC-ME
Filer:

WARNING: CASE CLOSED on 03/21/2017
Document Number: 54

Docket Text:

NOTICE. Signed by Judge Claire C. Cecchi on 8/5/2021. (Notice sent to pro se via U.S.
Mail) (jl, )

2:15-cv-01409-CCC-MF Notice has been electronically mailed to:

JAVAN HIGGINS | Higgins659@aol.com

MICHAEL D. LIPUMA — mlipuma@lipumalaw.com

2:15-cv-01409-CCC-MF Notice has been sent by regular U.S. Mail:

The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:n/a

Electronic document Stamp:

[STAMP deecfStamp_ID=1046708974 [Datc=8/5/202 1] [FileNumber=15276888-0

] [1 fc7f0bfe60dbfcfl a624 109e4f02 ddbdb53 7ae8623bb3b0d82 16962c0634b0c439
73c4b006902ad I 7ed 18329 1d542b658f976d52d63caf221887b0e49 193229]]

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY . . .
Martin Luther King Jr., Federal Bldg.
& US. Courthouse
50 Walnut Street
Newark, New Jersey 07102
(973) 645-6664

CHAMBERS OF
CLAIRE C.CECCHIL

UNITED STATES DISTRICT JUDGE

 

August 5, 2021

In re: Higgins v. Wells Fargo Bank, N.A., et al.
15-cv-1409

Dear Sir/Madam, a”

It has recently becn brought to my attention that while I presided over this case, Wells Fargo
stock was held in my husband’s separately managed, automated investment account. This ownership
of stock neither affected, nor impacted, my decisions in this case. However, this stock ownership
raises issues regarding recusal under the Code of Conduct for United States Judges.

This matter arises out of a foreclosure in State Court, wherein the State Court granted
possession of certain property at issue to Defendant. On the basis of failure to state a claim and lack of
subject matter jurisdiction, [ dismissed Plaintiff's Fourth Amended Complaint. Plaintiff appealed that
decision, however his appeal was dismissed for lack of appellate jurisdiction.

Nevertheless, Advisory Opinion 71, from the Judicial Conference Codes of Conduct
Committee, provides the following guidance for addressing disqualification that is not discovered
until after a judge has participated in a case:

[A] judge should disclose to the partics the facts bearing on disqualification as soon as
those facts are learned, even though that may occur after entry of the decision. The
partics may then determine what relicf they may seck and a court (without the
disqualified judge) will decide the Iegal consequence, if any, arising from the
participation of the disqualified judge in the entered decision.

Although Advisory Opinion 7{ contemplated disqualification after a Court of Appeals oral
argument, the Committee explained “‘{sJimilar considerations would apply when a judgment is
entered in a district court by a judge and it is later learned that the judge was disqualified.”

With Advisory Opinion 71 in mind, if you wish to respond to this disclosure, you may do so
within ten (10) days of receipt of this letter. Any response will be considered by another judge of this

Court without my participation.

Sineerely,

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CV Ce

CLAIRE C. CECCHI, U.S.D.J.

 
